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       EXHIBIT 10
             Case
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                How to locate your Samsung Galaxy device with
                               SmartThings Find




  If you lost your Galaxy phone, tablet, watch, or earbuds, you don’t need to worry. The SmartThings Find feature allows you to lock, locate, or completely
  wipe your data. Even your Samsung Wallet payment information can be locked or erased, and all of this can be done remotely. There are also similar
  services available for your watch and earbuds within the Galaxy Wearable app.

  Note: Available screens and settings may vary by wireless service provider, software version, and model. These services can only locate your device if it is
  powered on. SmartThings Find replaced Find My Mobile.




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    SmartThings Find                                 ⌄                                                                        
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    Find your phone or tablet using SmartThings Find                                                                          


    Track a missing phone or tablet                                                                                           


    Extend your phone's or tablet's battery life                                                                              


    Make your phone or tablet play a ringtone                                                                                 


    Remotely lock your phone or tablet                                                                                        


    Erase all data from the phone or tablet                                                                                   


    Find your phone using your smart watch                                                                                    


    Find your smart watch                                                                                                     


    Find your earbuds                                                                                                         


    What if I can't find my device?                                                                                           




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                                                        How to locate       Filed 02/23/24
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                                                                                   Galaxy device with    4 of 4 Find
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